Case 14-10802-jal      Doc 14     Filed 09/05/19     Entered 09/05/19 15:00:02        Page 1 of 3




                 UNITED STATES BANKRUPTCY COURT

                                 Western District of Kentucky


       IN RE:                                                        Case No.: 14-10802-jal
       Mary Frances Lashley

                              Debtor(s)                      Chapter 7



 DEBTOR’S MOTION TO REOPEN CASE FOR LIMITED PURPOSE OF AVOIDING
                     CERTAIN JUDICIAL LIENS

       Comes now the Debtor, Mary Frances Lashley, by counsel, and hereby moves the Court

to Reopen the instant action pursuant to 11 U.S.C. Sec. 350. In support of said Motion, the

Debtor states as follows:

       On or about November 5th, 2014, this matter was closed with the Debtor receiving a

Discharge. Unbeknownst to the Debtor, a creditor, namely Discover Bank, had filed a Judicial

Lien impairing the Debtor’s interest in her homestead. Debtor’s homestead, as is indicated in the

Petition filed, was subject to a Federal Homestead Exemption. The aforementioned Judgment

Lien was not served on Debtor, and in turn, Debtor did not advise counsel of the existence of the

same. The stated Judgement Lien also did not appear on Debtor’s Credit Report when the same

was pulled in 2014.

       As this Court is aware, there is no deadline in the Bankruptcy Rules for filing a Motion to

Avoid a Lien. In Goswami v. MTC Distributing, (In Re: Goswami) 304 B.R. 386, 390/91 (B.A.P.

9th Cir. 2003), the BAP for the 9th Circuit affirmed that there is no deadline in regard to a Motion

to Void a Lien. The Debtor further submits that there is an economic loss that the Debtor is

suffering from and further submits that the aforementioned Judicial Lien filed by the
Case 14-10802-jal     Doc 14     Filed 09/05/19    Entered 09/05/19 15:00:02       Page 2 of 3



aforementioned Creditor impairs the Debtor’s homestead exemption. The aforementioned

Judgment Lien was only discovered recently by Debtor’s mortgage lender. The underlying debt

was listed in Debtor’s Initial Petition. The aforementioned Judgment had been filed unbeknownst

to the Debtor in this particular matter, or the same would have been dealt with at the time of

filing of the instant Bankruptcy proceeding, and prior to any Discharge in this matter. The

Creditor was listed in the Debtor’s Petition as an Unsecured Creditor and was given notice of

these proceedings. Unbeknownst to the Debtor, however, and before the filing of the Debtor’s

Bankruptcy Petition, the Creditor had sought and obtained a Judgment Lien as is attached hereto

as Exhibit “A.”

       Furthermore, Debtor attaches hereto is a copy of Debtor’s Proposed Amended Schedules

“D” and “E,” seeking to avoid the Liens under Section 522 (F) (1) (A), as impairing the Debtor’s

homestead exemption Debtor further requests twenty (20) days leave to file a Motion to Avoid

the Lien in issue.

       WHEREFORE, the Debtor moves the Court for an Order consistent with the arguments

raised herein.

       * Any objections to this Motion must be filed within 14 days of the Certificate of

Service date below. Should no objection be received, an Order approving this Motion to

may be entered.

                                            Judd, Satterfield & Associates, PLLC
                                            869 Broadway Avenue
                                            Bowling Green, KY 42101
                                            Telephone: (270) 904-4141
                                            Facsimile: (888) 590-2842

                                            s/Harlan E. Judd, III
                                            __________________________________________
                                            Harlan E. Judd, III
Case 14-10802-jal      Doc 14     Filed 09/05/19     Entered 09/05/19 15:00:02        Page 3 of 3




                                CERTIFICATE OF SERVICE

       This is to certify that a true and exact copy of the foregoing was placed in the U.S. Mail
addressed as follows:

Jerry Burns
1945 Scottsville Road, B-2
PMB 348
Bowling Green, KY 42104

Charles R. Merrill
Asst. U.S.Trustee
601 West Broadway #512
Louisville, KY 40202

Discover Financial Services, LLC
P.O. Box 15316
Wilmington, DE 19850

Scott Burns
Katie Lloyd
Megan Urban
W. Anderson Woodford
Lloyd & McDaniel, PLC
P.O. Box 23200
Louisville, KY 40223

       This the 5th day of September, 2019

                                             s/Harlan E. Judd, III
                                             __________________________________________
                                             Harlan E. Judd, III
